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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

DARRYL LYNN DIXON, #161 637,                   )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )   CIVIL ACTION NO. 2:20-CV-524-MHT
                                               )
JEFFERSON S. DUNN, ALABAMA                     )
DEPARTMENT OF CORRECTIONS                      )
COMMISSIONER, et al.,                          )
                                               )
       Defendants.                             )

                                      ORDER ON MOTION

       Upon consideration of Plaintiff’s motion for reconsideration of previous judgment under

Rule 60, Federal Rules of Civil Procedure, and as no judgment has been entered in this case, it is

       ORDERED that the motion for reconsideration (Doc. 13) is DENIED.

       Plaintiff has filed a motion to object to Defendants’ motion for extension of time to file

their answer and written report. To the extent Plaintiff’s objection is considered a motion to deny

Defendants’ request for additional time to file their answer and special report, and as the court

granted Defendants’ September 24, 2020, request for additional time finding Defendants

demonstrated good cause for the request by offering a credible explanation for the delay that does

not exhibit disregard for the instant proceedings or prejudice to Plaintiff (see Doc. 11), it is

       ORDERED that Plaintiff’s motion (Doc. 13) is DENIED.

       Done, this 6th day of October 2020.


                                        /s/ Charles S. Coody
                                       UNITED STATES MAGISTRATE JUDGE
